Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
11/03/2017 09:14 AM CDT




                                                         - 788 -
                                  Nebraska Supreme Court A dvance Sheets
                                          297 Nebraska R eports
                                  LINDSAY INTERNAT. SALES &amp; SERV. v. WEGENER
                                               Cite as 297 Neb. 788



                                  Lindsay International Sales &amp; Service,
                                  LLC, appellee, v. Michael J. Wegener,
                                     an individual, and Jerome P ribil,
                                         an individual, appellants.
                                                     ___ N.W.2d ___

                                        Filed September 15, 2017.   No. S-16-1051.

                1.	 Jurisdiction: Appeal and Error. A jurisdictional question which does
                    not involve a factual dispute is determined by an appellate court as a
                    matter of law.
                2.	 Statutes. Statutory interpretation is a question of law.
                3.	 Judgments: Appeal and Error. An appellate court reviews questions of
                    law independently of the lower court’s conclusion.
                4.	 Jurisdiction: Time: Notice: Appeal and Error. In order to vest an
                    appellate court with jurisdiction, a party must file a notice of appeal
                    within 30 days of the judgment, decree, or final order from which the
                    party is appealing.
                5.	 Motions for New Trial: Time: Notice: Appeal and Error. A timely
                    motion for new trial terminates the running of the time for filing a notice
                    of appeal, giving the party 30 days from the entry of the order denying
                    the motion to file a notice of appeal.
                6.	 Statutes: New Trial. The plain language of the savings clause in Neb.
                    Rev. Stat. § 25-1144.01 (Reissue 2016) does not contain a finality
                    requirement.

                  Petition for further review from the Court of Appeals,
               Moore, Chief Judge, and Inbody and Pirtle, Judges, on appeal
               thereto from the District Court for Platte County, Robert R.
               Steinke, Judge. Judgment of Court of Appeals reversed, and
               cause remanded for further proceedings.
                            - 789 -
          Nebraska Supreme Court A dvance Sheets
                  297 Nebraska R eports
          LINDSAY INTERNAT. SALES &amp; SERV. v. WEGENER
                       Cite as 297 Neb. 788
  Stephen L. Ahl and Krista M. Carlson, of Wolfe, Snowden,
Hurd, Luers &amp; Ahl, L.L.P., and Barry D. Geweke, of Stowell
&amp; Geweke, P.C., L.L.O., for appellants.

  John M. Lingelbach, of Koley Jessen, P.C., L.L.O., for
appellee.

  H eavican, C.J., Wright, Cassel, Stacy, K elch, and
Funke, JJ.

   Stacy, J.
   The Nebraska Court of Appeals dismissed this appeal, find-
ing it was not timely filed. On further review, we apply the
savings clause of Neb. Rev. Stat. § 25-1144.01 (Reissue 2016)
and conclude the notice of appeal was timely filed. We there-
fore reinstate the appeal and remand the matter to the Court of
Appeals for further proceedings.

                             FACTS
                Proceedings in District Court
   Lindsay International Sales &amp; Service, LLC (Lindsay), sued
Jerome Pribil and Michael J. Wegener to collect amounts
due on a guaranty. The case was tried to a jury, and on July
21, 2016, the jury returned a verdict in favor of Lindsay for
$1,019,795.38. The court accepted the jury’s verdict on the
record and discharged the jurors. The verdict forms were filed
with the clerk the same day, but judgment on the verdict was
not entered until 5 days later.
   Four days after the jury returned its verdict, Lindsay filed
a motion for costs. On the same day, Pribil and Wegener filed
a motion for new trial. Both motions were efiled on July 25,
2016; the time stamp on the motion for costs shows it was
accepted for filing approximately 2 hours before the motion
for new trial.
   The next day, on July 26, 2016, the court entered judgment
on the jury’s verdict. The judgment specifically noted, “The
                              - 790 -
           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
           LINDSAY INTERNAT. SALES &amp; SERV. v. WEGENER
                        Cite as 297 Neb. 788
assessment of court costs, which is the subject of a separate
motion filed by [Lindsay] and scheduled for hearing to be con-
ducted on August 5, 2016, will be addressed by separate order
of the Court.” The judgment did not mention the motion for
new trial, but in a separate order, the court set a hearing date of
September 12 for the motion for new trial.
    On August 8, 2016, the court entered an order awarding
Lindsay costs of $3,457.20. On October 14, the court entered
an order overruling the motion for new trial. On November 9,
Pribil and Wegener filed a notice of appeal. For easy reference,
the following timeline summarizes the critical dates:
• July 21: Jury returns verdict; court accepts verdict.
• July 25: Lindsay files a motion for costs.
• July 25: Pribil and Wegener file a motion for new trial.
• July 26: Court enters judgment on the jury verdict.
• August 8: Court grants Lindsay’s motion for costs.
• September 12: Hearing held on motion for new trial.
• October 14: Court overrules motion for new trial.
• November 9: Pribil and Wegener file notice of appeal.

                 Proceedings in Court of A ppeals
    After ordering the parties to show cause, the Court of
Appeals dismissed the appeal without opinion, finding it lacked
appellate jurisdiction. The court reasoned:
       The motion for new trial filed on July 25, 2016 was filed
       before the final order entered on August 8, 2016. See
       J &amp; H Swine v. Hartington Concrete, 12 Neb[.] App. 885,
       687 N.W.2d 9 (2004). A premature motion for new trial
       is a nullity and, thus, the November 9, 2016 notice of
       appeal was untimely. See Despain v. Despain, 290 Neb.
       32, 858 N.W.2d 566 [(2015)] (citing Macke v. Pierce, 263
       Neb. 868, 643 N.W.2d 673 (2002)).
    Pribil and Wegener filed a timely motion for rehearing,
arguing the motion for new trial was effective, and not a nul-
lity, under the plain language of § 25-1144.01. That statute
                                     - 791 -
                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                LINDSAY INTERNAT. SALES &amp; SERV. v. WEGENER
                             Cite as 297 Neb. 788
provides, in relevant part, that “[a] motion for a new trial filed
after the announcement of a verdict or decision but before
the entry of judgment shall be treated as filed after the entry
of judgment and on the day thereof.” A divided panel of the
Court of Appeals denied rehearing, reasoning that the motion
for new trial had been filed “prior to the district court’s ruling
on costs, i.e., before the announcement of a final judgment,”
so the motion was a nullity. We granted Pribil and Wegener’s
petition for further review.

                  ASSIGNMENTS OF ERROR
   On further review, Pribil and Wegener assign, restated and
consolidated, that the Court of Appeals erred in (1) dismissing
their appeal as untimely, (2) concluding their motion for new
trial was a nullity, and (3) misapplying the second sentence, or
savings clause, of § 25-1144.01.

                    STANDARD OF REVIEW
   [1] A jurisdictional question which does not involve a factual
dispute is determined by an appellate court as a matter of law.1
   [2] Statutory interpretation is a question of law.2
   [3] An appellate court reviews questions of law indepen-
dently of the lower court’s conclusion.3

                         ANALYSIS
   [4,5] In order to vest an appellate court with jurisdic-
tion, a party must file a notice of appeal within 30 days of
the judgment, decree, or final order from which the party is

 1	
      Holdsworth v. Greenwood Farmers Co-op, 286 Neb. 49, 835 N.W.2d 30
      (2013); In re Adoption of Amea R., 282 Neb. 751, 807 N.W.2d 736 (2011).
 2	
      First Nat. Bank of Omaha v. Davey, 285 Neb. 835, 830 N.W.2d 63 (2013);
      Professional Firefighters Assn. v. City of Omaha, 282 Neb. 200, 803
      N.W.2d 17 (2011).
 3	
      Maclovi-Sierra v. City of Omaha, 290 Neb. 443, 860 N.W.2d 763 (2015);
      VKGS v. Planet Bingo, 285 Neb. 599, 828 N.W.2d 168 (2013).
                                     - 792 -
                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                LINDSAY INTERNAT. SALES &amp; SERV. v. WEGENER
                             Cite as 297 Neb. 788
appealing.4 But under § 25-1912(3)(a), a timely motion for
new trial under § 25-1144.01 will terminate the running of
the time for filing a notice of appeal, giving the party 30 days
from the entry of the order denying the motion to file a notice
of appeal.5
   Here, the timeliness of the notice of appeal filed by Pribil
and Wegner depends on whether their motion for new trial
was an effective terminating motion, or instead was a nullity.
The Court of Appeals concluded the motion was a nullity,
because it was filed before the announcement of a final order.
Pribil and Wegner argue that the court did not properly apply
§ 25-1144.01, which provides:
         A motion for a new trial shall be filed no later than
      ten days after the entry of the judgment. A motion for
      a new trial filed after the announcement of a verdict
      or decision but before the entry of judgment shall be
      treated as filed after the entry of judgment and on the
      day thereof.
The second sentence of § 25-1144.01 has been referred to as a
“savings clause”6 and was added to the statute in 2004. Before
discussing the application of the savings clause to the present
appeal, we provide some historical perspective.

                    History of § 25-1144.01
   In Macke v. Pierce,7 decided in 2002, we interpreted an ear-
lier version of § 25-1144.01. The version in effect at that time
provided that a motion for new trial had to be filed “no later

 4	
      Neb. Rev. Stat. § 25-1912(1) (Reissue 2016). See Despain v. Despain, 290
      Neb. 32, 858 N.W.2d 566 (2015).
 5	
      See § 24-1144.01.
 6	
      Despain v. Despain, supra note 4, 290 Neb. at 43, 858 N.W.2d at 574
      (Cassel, J., concurring).
 7	
      Macke v. Pierce, 263 Neb. 868, 643 N.W.2d 673 (2002) (superseded by
      statute as stated in Despain v. Despain, supra note 4).
                                   - 793 -
               Nebraska Supreme Court A dvance Sheets
                       297 Nebraska R eports
               LINDSAY INTERNAT. SALES &amp; SERV. v. WEGENER
                            Cite as 297 Neb. 788
than ten days after the entry of judgment.”8 Macke held that a
motion for new trial filed before the entry of a judgment was
a nullity, as was the trial court’s ruling on such a motion for
new trial, and that such a motion for new trial did not termi-
nate the time for taking an appeal.
   In 2004, presumably in response to our decision in Macke,
the Legislature added the second sentence, or savings clause,
to § 25-1144.01. We addressed the effect of this statutory
change in Despain v. Despain.9 In that dissolution action, the
husband filed a motion for new trial after the court distrib-
uted an unsigned journal entry reciting its substantive deci-
sion, but before the court filed the signed dissolution decree.
A few days later, the court filed a signed decree. The court
ultimately overruled the motion for new trial, and the husband
filed an appeal within 30 days of the order overruling his
motion for new trial. The wife asserted the appeal should be
dismissed as untimely, arguing the motion for new trial was
a nullity and did not terminate the time for filing an appeal
because the motion had been filed before the signed decree
was entered.
   We rejected this argument in light of the new savings
clause language in § 25-1144.01. We noted that “under the
2004 amendment, a motion for new trial filed after the
announcement of the decision but before the entry of the
judgment is no longer a nullity.”10 We implicitly held that
the unsigned journal entry provided to counsel was the
requisite “‘announcement of a verdict or decision’” under
§ 25-1144.01, and we reasoned that because the motion for
new trial was filed after the announcement of the court’s
decision but before the court entered judgment by filing the
signed decree, it was an effective terminating motion under

 8	
      See § 25-1144.01 (Cum. Supp. 2000).
 9	
      Despain v. Despain, supra note 4.
10	
      Id. at 39, 858 N.W.2d at 572.
                                   - 794 -
               Nebraska Supreme Court A dvance Sheets
                       297 Nebraska R eports
               LINDSAY INTERNAT. SALES &amp; SERV. v. WEGENER
                            Cite as 297 Neb. 788
the plain language of the savings clause in § 25-1144.01.11
Consequently, we found the notice of appeal was timely,
because it was filed within 30 days after the motion for new
trial was overruled.

                   A pplication of § 25-1144.01
                          to P resent Case
   Pribil and Wegener contend that the savings clause of
§ 25-1144.01 rendered their motion for new trial effective and
timely. They argue their motion was “filed after the announce-
ment of a verdict or decision but before the entry of judgment”
and thus must be “treated as filed after the entry of judgment
and on the day thereof.”12 At oral argument, Lindsay agreed
with this argument. We do too.
   The motion for new trial was filed after the court announced
the jury’s verdict, but before the entry of judgment. As such,
the plain language of § 25-1144.01 requires that the motion
be treated as filed “after the entry of judgment and on the
day thereof,” making it a timely and effective terminating
motion.13
   The Court of Appeals’ reasoning in its order denying the
motion for rehearing suggests it was concerned by the fact
that Lindsay filed a motion for costs just before the motion
for new trial was filed. Relying on its decision in J &amp; H
Swine v. Hartington Concrete,14 the Court of Appeals reasoned,
“Because the appellants filed their motion for new trial prior
to the district court’s ruling on costs, i.e., before the announce-
ment of a final judgment, the filing of their motion for a new
trial was ineffective.” (Emphasis supplied.) But the reasoning
of J &amp; H Swine is not applicable here.

11	
      Id. at 38, 858 N.W.2d at 571.
12	
      See, § 25-1144.01 (Reissue 2016); Despain v. Despain, supra note 4.
13	
      Id.
14	
      J &amp; H Swine v. Hartington Concrete, 12 Neb. Ct. App. 885, 687 N.W.2d 9
      (2004).
                                     - 795 -
                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                LINDSAY INTERNAT. SALES &amp; SERV. v. WEGENER
                             Cite as 297 Neb. 788
   J &amp; H Swine was based on this court’s opinion in In re
Guardianship &amp; Conservatorship of Woltemath,15 but neither
J &amp; H Swine nor In re Guardianship &amp; Conservatorship of
Woltemath addressed the savings clause under § 25-1144.01.
Instead, both cases addressed the savings clause in § 25-1912(2),
a statute that governs notices of appeal.
   The savings clause in § 25-1912(2) is similar to the sav-
ings clause in § 25-1144.01, with one important distinction:
§ 25-1912(2) expressly references “final” orders:
      A notice of appeal or docket fee filed or deposited after
      the announcement of a decision or final order but before
      the entry of the judgment, decree, or final order shall be
      treated as filed or deposited after the entry of the judg-
      ment, decree, or final order and on the date of entry.
(Emphasis supplied.)
   In re Guardianship &amp; Conservatorship of Woltemath
focused on the plain language of § 25-1912(2) and held
that an “‘announcement of a decision or final order’” under
§ 25-1912(2) must be of “a decision or final order that would
have been appealable if followed immediately by the entry of
judgment.”16 In other words, to trigger the savings clause for
premature notices of appeal under § 25-1912(2), an announce-
ment must pertain to a decision or order that, once entered,
would be final and appealable.
   The Court of Appeals appears to have applied this same
reasoning to motions for new trial under § 25-1144.01,
and concluded that because the motion for new trial was
filed before the district court’s decision on the motion for
costs, it was not filed after the requisite “announcement of a

15	
      In re Guardianship &amp; Conservatorship of Woltemath, 268 Neb. 33, 680
      N.W.2d 142 (2004).
16	
      In re Guardianship &amp; Conservatorship of Woltemath, supra note 15, 268
      Neb. at 40, 680 N.W.2d at 148, citing FirsTier Mtge. Co. v. Investors
      Mtge. Ins. Co., 498 U.S. 269, 111 S. Ct. 648, 112 L. Ed. 2d 743 (1991).
                                    - 796 -
                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
               LINDSAY INTERNAT. SALES &amp; SERV. v. WEGENER
                            Cite as 297 Neb. 788
verdict or decision.”17 But reading a finality requirement into
§ 25-1144.01 is inconsistent with the plain language of the
statute. Appellate courts give statutory language its plain and
ordinary meaning and will not resort to interpretation to ascer-
tain the meaning of statutory words which are plain, direct,
and unambiguous.18 An appellate court will not read into a
statute a meaning that is not there.19
   The plain and unambiguous language of § 25-1144.01, unlike
§ 25-1912(2), contains no requirement that the “announce-
ment” be of a final “verdict or decision.”20 And the instant case
illustrates the practical difficulty of reading a finality require-
ment into the savings clause under § 25-1144.01.
   Here, Pribil and Wegener filed their motion for new trial
after the jury’s verdict was announced on the record. From
their perspective, the substantive decision on those proceed-
ings had been made, so they filed their motion for new trial
even though the court had not yet entered judgment on that
verdict. This appears to be precisely the circumstance the
Legislature intended to address by adding the savings clause
to § 25-1144.01 in 2004. The filing of a motion for costs
after the announcement of the verdict but before the motion
for new trial was filed does not change the analysis under
§ 25-1144.01.
   [6] The plain language of the savings clause in § 25-1144.01
does not contain a finality requirement. Section 25-1144.01
merely requires an “announcement of a verdict or decision.”
Here, the motion for new trial was filed after the announce-
ment of the jury’s verdict and before the entry of judgment.

17	
      See § 25-1144.01.
18	
      Schuyler Apt. Partners v. Colfax Cty. Bd. of Equal., 279 Neb. 989, 783
      N.W.2d 587 (2010); State ex rel. Amanda M. v. Justin T., 279 Neb. 273,
      777 N.W.2d 565 (2010).
19	
      DMK Biodiesel v. McCoy, 290 Neb. 286, 859 N.W.2d 867 (2015); Flores
      v. Flores-Guerrero, 290 Neb. 248, 859 N.W.2d 578 (2015).
20	
      See § 25-1144.01.
                                     - 797 -
                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                LINDSAY INTERNAT. SALES &amp; SERV. v. WEGENER
                             Cite as 297 Neb. 788
As such, it fell within the savings clause under § 25-1144.01,
and must be treated as having been filed immediately after the
judgment was entered on the jury’s verdict. The motion for
new trial was an effective filing and was not a nullity.
   Because a proper and timely motion for new trial termi-
nates the running of time for filing a notice of appeal,21 the
appeal time did not start to run until the motion for new trial
was ruled upon on October 14, 2016. Pribil and Wegener filed
their notice of appeal within 30 days of that date, and their
appeal should not have been dismissed as untimely.
                      CONCLUSION
  For the foregoing reasons, we reinstate the appeal and
remand the cause to the Court of Appeals for further
proceedings.
	R eversed and remanded for
	                               further proceedings.
  Miller-Lerman, J., not participating.

21	
      See Despain v. Despain, supra note 4.
